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11 Attorneys for Plaintiffs

12                                     UNITED STATES DISTRICT COURT

13                                    NORTHERN DISTRICT OF CALIFORNIA

14 SM 10000 PROPERTY, LLC, a Delaware                  Case No. 19-cv-03054-PJH
   limited liability company and SWINERTON
15 BUILDERS, a California Corporation,
                                                       DECLARATION OF TED BUMGARDNER
16                      Plaintiffs,                    IN SUPPORT OF OPPOSITION TO
                                                       DEFENDANT’S MOTION FOR SUMMARY
17                vs.                                  JUDGMENT

18 ALLIANZ GLOBAL RISKS US INSURANCE                   Date: January 6, 2021
   COMPANY and DOES 1 through 10,                      Judge: Hon. Phyllis J. Hamilton
19
             Defendant.                                NO ORAL ARGUMENT UNLESS
20                                                     REQUESTED BY THE COURT

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                           BUMGARDNER DECLARATION IN SUPPORT OF OPPOSITION TO
     905285./SD
                           MOTION FOR SUMMARY JUDGMENT - Case No. 19-cv-03054-PJH
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 1                I, Ted Bumgardner, declare as follows:

 2                1.     I am over the age of 18 and have personal knowledge of the facts set forth in this

 3 declaration. I have over 40 years of experience in building construction, construction

 4 management, and schedule analysis. I have particular expertise in the analysis of construction

 5 delays impacting high-rise construction. I have personally been a superintendent or project

 6 manager on multiple high-rise projects. In 2009, I founded Xpera Group, a construction

 7 consulting company based in San Diego. Xpera provides construction consulting and support

 8 services to builders and owners and also provides forensic and litigation support relating to

 9 construction disputes. I have qualified as an expert to provide testimony on the cause and

10 measurement of schedule delay in state and federal courts in California. A copy of my curriculum

11 vitae is attached to this declaration as Exhibit 38.

12                2.     I was retained by the plaintiffs in this case, 10000 SM Property, LLC and

13 Swinerton, to evaluate the schedule impact of December 2, 2015 concrete spill referred to in this

14 case as the loss event. Based on a review of the construction records and other information I

15 determined that the loss event caused delays to each of the project milestones, including the final

16 milestone, which is Substantial Completion of the project as defined by the parties in their

17 construction contract. The amount of delay caused by the loss event to each milestone is provided

18 in the following table:

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 1                3.   I conducted my schedule analysis using critical path method (CPM) schedule

 2 analyses recommended for this purpose by the American Association of Cost Engineers (the

 3 AACE), which is the recognized authority for schedule analysis guidance throughout the United

 4 States and around the world. There are multiple CPM methods recommended for forensic use

 5 (i.e., determination of the causes and measurement of delay for claims purposes) by the AACE.

 6 These are set forth in a technical publication known as AACE International Recommended

 7 Practice No. 29R-03 Forensic Schedule Analysis, known simply as 29R-03 to the construction

 8 industry. There are five primary methods of CPM analysis, which sometimes go by different slang

 9 names and include some variations. The technical names of these methods are:

10                     (i.)As Planned vs As Built
                               MIP 3.1 Observational/ Static/ Gross
11                             MIP 3.2 Observational/ Static/ Periodic

12                     (ii.)Windows Analysis
                              MIP 3.3 Observational/Dynamic/ Contemporaneous As-Is
13                            MIP 3.4 Observational/Dynamic/ Contemporaneous Split
                              MIP 3.5 Observational/ Dynamic/ Modified or Recreated
14
                       (iii.)Impacted As Planned
15                             MIP 3.6 Modeled/ Additive/ Single Base

16                     (iv.)Time Impact Analysis
                              MIP 3.7 Modeled/ Additive/ Multiple Base
17
                       (v.)Collapsed As Built
18                            MIP 3.8 Modeled/ Subtractive/ Single Simulation
                              MIP 3.9 Modeled Subtractive/ Multiple Base
19

20 All of the AACE recommended methods were developed, published, studied, peer reviewed and

21 tested in court over many years. The purpose of these methods is to minimize subjectivity,

22 judgment, mistakes, disputes and variation in the measurement and attribution of delay for

23 purposes of claims. There are strict protocol requirements for using these methods, but the AACE

24 recognizes that in practice it may not be feasible to follow them in every case. Usually this is

25 because the information needed to follow strict protocols is not available. Nevertheless, the object

26 of a schedule analysis is to follow these guidelines as best as one can, utilize multiple methods

27 when appropriate and avoid subjectivity to the greatest possible extent. In my analysis I used

28 three of the AACE methods and was able to follow the protocols. My opinions are set forth in a

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 1 77-page report that I prepared with the assistance of my colleague Dr. Hendrik Prinsloo. A true

 2 and correct copy of my report is attached as Exhibit 39.

 3                4.   I have studied the reports prepared by J.S. Held for Allianz Global Risk US

 4 Insurance in this matter. The method used by J.S. Held to reach their opinion that the loss event

 5 caused “no additional delay” to the completion of the project is not recommended by the AACE. I

 6 have never seen or heard of the method being used before. I also read the transcripts of the

 7 depositions of J.S. Held personnel, including Lisa Enloe, Jonathan Perry, Jonathon Held and

 8 Granger Stuck. They refer to their method as either an “As-Built-But-For” method or a “But For”

 9 method of analysis. The term But For analysis is a slang term for an AACE recommended

10 method more commonly known as the Collapsed As Built method. The method used by J.S. Held

11 is not, however, the same as a Collapsed As Built or But For method as known in the construction

12 industry. All AACE methods are designed to identify the critical path of the work and measure

13 the delay to the project caused by an identified event or set of circumstances. In this case J.S.

14 Held did not identify the critical path of the work or measure delay to the completion date caused

15 by any event or set of circumstances. According to the deposition testimony of Granger Stuck, the

16 delay expert for Allianz, on page 126 of his transcript stated that “…the but-for analysis isn’t

17 really a critical path analysis.”

18                5.   J.S. Held’s method is not a method of measuring delay to the completion of a

19 project caused by an event or set of circumstances. What their method entails, is the review of

20 project records to identify delays to scheduled activities that occurred before and after the loss

21 event. Without measuring the impact of these delays on the completion date, the J.S. Held analyst

22 forms a judgment or opinion about whether the delays to activities that were identified would have

23 delayed the completion of the project as much as the loss event did assuming if the loss event had

24 not occurred, i.e., “but for the loss event.”

25                6.   If the question to be answered for purposes of the Delayed Opening insurance

26 coverage is whether the loss event caused delay to the project, the answer provided by the critical

27 path schedule analysis is yes. J.S. Held’s method does not attempt to answer that question,

28 however. J.S. Held claims that its analysis can tell us whether a project would have been

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 1 completed earlier but for a loss event. I do not believe J.S. Held’s method does that either, as I

 2 will explain. To know whether a project would have been completed earlier but for a loss event,

 3 one must make assumptions about post-loss event decisions that would have been made if the loss

 4 event had not occurred.

 5                7.   In delay analysis, two independent delays occurring at or near the same time are

 6 referred to as concurrent delays. AACE advises in Section C. Pre-Requisite Findings Concerning

 7 the Delays Being Evaluated for Concurrency that: Before evaluation of concurrency…, The

 8 delayed work must be substantial and not easily curable. AACE further explains in C.4 that “This

 9 requirement comports with common sense. If one of the delays is associated with a minor element

10 of work that could easily be performed, that work should not create a concurrent delay. Float is

11 the amount of time that an activity can be delayed without causing a subsequent delay to the

12 project completion date. When a concurrent activity is delayed within the float created by the

13 controlling or parent delay due to decisions made because of the float, that is referred to as a

14 pacing delay. Per AACE Section 4.2 F, “Pacing delay is a real-life manifestation of the principle

15 that work durations expand to fill the time available to perform them.” In Section 3. Method

16 Implementation which outlines the process for each of the nine different analyses protocols for the

17 five major delay analyses methods sub-section H. Identification and Quantification of Concurrent

18 Delays and Pacing provides checklists for the identification of critical and near-critical paths and

19 requires that, “For each suspected pacing delay event, evaluate whether enough resources could

20 have been realistically employed to perform the paced activity within its original planned

21 duration.”

22                8.   In this case, as one would expect whenever a catastrophic event or accident

23 happens during a project, the Loss Event changed the critical path of the work and created

24 schedule float. On a complex project that was only about halfway finished at the time of the loss

25 event, such as Ten Thousand, it would not be reasonable for a schedule analyst to assume the

26 owner and contractor would have made the same decisions and allocated resources the same way

27 had the loss event not occurred. In fact, because the loss event shifted the critical path it is

28 virtually certain that they would not have done everything the same way. Work that is on the

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 1 critical path is work that, if delayed, may delay the completion of the Project. Work that is not on

 2 the critical path can be delayed without impacting the scheduled completion date of the project.

 3 For that reason, contractors and owners make different decisions about work that is on or near the

 4 critical path than they would about work not near the critical path. Contractors focus attention and

 5 resources on the work that is near the critical path. They will sometimes spend extra money to

 6 expedite that work, particularly if there are bonuses for finishing early and penalties for finishing

 7 late, as there were in this case. In order to answer the question of what would have happened but

 8 for the loss event, one would have to form opinions about each individual activity that was

 9 delayed after the loss event happened in order to determine whether that delay was avoidable and

10 whether avoidance would have been likely if the loss event had not occurred. According to the

11 descriptions provided by Lisa Enloe, Jonathan Perry and Granger Stuck in their depositions, J.S.

12 Held’s method does not attempt to do that. The reports authored by J.S. Held in this case contain

13 no analysis consistent with AACE Section 4.2C, AACE Section 4.2F, or the recommendations

14 contained in sub-section H of the method implementation protocols.

15                9.    J.S. Held’s failure to consider concurrency and pacing in the manner described

16 above will often, if not always, result in an opinion that is biased against the contractor and owner.

17 Project stakeholders will be charged with delays to the completion of work that was shifted off the

18 actual critical path by the occurrence of the loss event regardless of the likelihood that such work

19 would have been completed on time had it been on the actual critical path. A schedule analysis

20 that fails to consider concurrency and pacing as recommended by the AACE and described above

21 falls below the construction industry standard of care for schedule analysis. By assuming that the

22 work would have progressed the same way had the loss event not occurred, J.S. Held’s analysis

23 also fails to tell us whether the project would probably have completed earlier but for the Loss

24 Event.

25                10.   In this case there are several examples of activities that were delayed after the Loss

26 Event which probably would not have been delayed but for the Loss Event. My rebuttal report

27 describes some of these activities and explains how the delays could have been avoided, and

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 1 probably would have been avoided if the loss event had not already delayed the project. A true

 2 and correct copy of my rebuttal report is attached as Exhibit 40.

 3                11.   J.S. Held’s reports make important factual mistakes, each benefitting the insurance

 4 company. Some of these are described in my rebuttal report. An example of an important factual

 5 mistake J.S. Held made was its determination that all damage caused by the loss event was

 6 repaired and Schindler could resume contract work inside the passenger elevator shaft three

 7 months after the Loss Event. The documentary evidence, consistent with eyewitness testimony,

 8 shows that the repair and replacement of damaged materials and equipment was not completed

 9 until another two months later. Then the loss event occurred on December 2, 2015, damaging

10 equipment and parts in the shaft. On February 4, 2016, after safety measures were introduced and

11 safe access to the elevator shaft was possible, Schindler began the clean-up and repair of damaged

12 equipment inside the passenger elevator shaft, completing nearly all of that work by February 26.

13 Before it could return to doing contract work in the shaft, however, it had to replace elevator clips

14 at floors 1 through 17 and a piece of equipment known as the Guide Rail Installation Kit (GRIK),

15 which were damaged by the concrete spill. A March 29, 2016, a Schindler email to Swinerton

16 transmitting a proposed change order for the replacement of the clips states that the damaged clips

17 had not yet been replaced. A true and correct copy of the email with attachments is attached as

18 Exhibit 41. Swinerton’s As Built schedule shows the clips were replaced between April 1 and

19 April 8, 2016. The information in the Swinerton schedule has been confirmed by eyewitnesses.

20 Despite clear evidence to the contrary, J.S. Held insists the clips were replaced before February

21 26, 2016. The GRIK was an essential component of Schindler’s system for setting elevator rails.

22 It is a customized part that was custom fabricated for this project. A new GRIK was ordered after

23 the original one was destroyed by the loss event. The projected delivery date for the new GRIK

24 was March 11, 2016, but witnesses reported that it was actually delivered in late April. The first

25 mention of the new GRIK in the construction records is April 25, 2016. This would have been the

26 last activity in the repair and replacement sequence. It is inexplicable to me that J.S. Held reports

27 that the repair and replacement activities were completed two months earlier.

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 1                                TABLE OF EXHIBITS

 2 EXHIBIT        DESCRIPTION                                                 PAGE NO

 3 Exhibit 38     Curriculum Vitae of Ted Bumgardner, Xpera Group             2
 4
     Exhibit 39   October 2020 Elevator Shaft Loss Event Delay Analysis Report 4
 5                prepared by Xpera Group

 6 Exhibit 40     November 16, 2020 Elevator Shaft Loss Event                 7
                  Response To J.S. Held Report prepared by Xpera Group
 7

 8 Exhibit 41     March 29, 2016 email from Christopher Lape, Schindler        7
                  Elevator to Keith Dancey, Swineton Builders, with attachment
 9
     Exhibit 42   Xpera Group Analysis of Swinerton Damages                   8
10                (Deposition Exhibit 280)
11
     Exhibit 43   Xpera Group Analysis of Swinerton Damages - Amended         8
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